











Opinion issued January 8, 2004











In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00438-CR
____________

RAYMOND CHARLES EVERHART, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 338th District Court
Harris County, Texas
Trial Court Cause No. 946266




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Raymond Charles Everhart, was convicted by a jury of
possession of cocaine in an amount less than one gram.  The jury assessed
punishment at confinement in State jail for two years.  We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel filed a motion to withdraw as counsel
and a brief concluding that the appeal is wholly frivolous and without merit.  The
brief meets the requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct.
1396, 1400 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds of error to be advanced.  See High
v. State, 573 S.W.2d 807, 811 (Tex. Crim. App. 1978); Moore v. State, 845 S.W.2d
352, 353 (Tex. App.—Houston [1st Dist.] 1992, pet. ref’d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The brief states that a copy was delivered to appellant, whom counsel
advised by letter of his right to examine the appellate record and file a pro se brief. 
See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than 30
days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel’s brief.  We find no reversible error in the record,
and agree that the appeal is wholly frivolous.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgment of the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant counsel’s motion to withdraw.


  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.—Houston [1st Dist.] 2000, no pet.). 

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Keyes and Hanks.

Do not publish.  Tex. R. App. P. 47.2(b).


